                Case 18-12012-LSS             Doc 979       Filed 05/29/20        Page 1 of 12




                        IN TIIE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT pF DELAWARE

In re:                                                         Chapter 11

OPEN ROAD FILMS,LLC,a Delaware limited                         Case No.: 18-12012(LSS)
liability company, et al.1,
                                                              (Jointly Administered)
                                    Debtors.
                                                                   Hearing Date: July 1,2020 at 2:00 p.m.(ET)
                                                            Objection Deadline: June 12,2020 at 4:00 p.m.(ET)

                PLAN ADMINISTRATOR'S FOURTH(NON-SUBSTANTIVE)
                     OBJECTION TO CERTAIN(A)DUPLICATIVE
               CLAIMS AND(B)INSUFFICIENT DOCUMENTATION CLAIMS

     PARTIES RECEIVING THIS OMNIBUS OBJECTION TO CLAIMS SHOULD
    LOCATE THEIR NAMES AND THEIR CLAIMS)IN THE ATTACHED EXHIBIT.

YOUR RIGHTS MAY BE AFFECTED BY THIS OBJECTION AND BY ANY FURTHER
       OBJECTION THAT MAY BE FILED AGAINST YOUR CLAIM(S).


         John Roussey (the "Plan Administrator"), acting on behalf of Open Road Films, LLC,

 and its affiliated debtors and debtors in possession (collectively, the "Debtors" and subsequent to

the Effective Date (as defined herein), the "Liquidating Debtors"), by and through his

 undersigned counsel, hereby files this omnibus objection (the "Fourth Omnibus Objection")

 pursuant to section 502 ofthe Bankruptcy Code, Rules 3003 and 3007 ofthe Federal Rules of

 Bankruptcy Procedure (the "Bankruptcy Rules"), and Local Rule 3007-1 of the Local Rules of

 the Bankruptcy Court for the District of Delaware (the "Local Rules"), to the claims listed on

 Exhibit 1 (the "Duplicative Claims"), and Exhibit 2(the "Insufficient Documentation Claims")


'The Liquidating Debtors and the last four digits of their taxpayer identification numbers include: Open Road
 Films, LLC(4435-Del.); Open Road Releasing, LLC(4736-Del.); OR Productions LLC(5873-Del.); Briarcliff LLC
(7304-Del.); Open Road International LLC(4109-Del.); and Empire Productions LLC(9375-Del.). The Debtors'
 address is 1800 Century Park East, Suite 600, Los Angeles, CA 90067. Additional affiliated entities, including, but
 not limited to,IM Global LLC, Global Road Entertainment Television LLC (f/k/a IM Global TV LLC), Tang Media
Partners LLC, and Global Road Entertainment LLC, are not debtors in these Cases and have not commenced chapter
 1 1 cases.



 DOGS NY:40268.2 64202/003
                Case 18-12012-LSS           Doc 979       Filed 05/29/20   Page 2 of 12




to the proposed order (the "Proposed Order")(attached hereto as Exhibit A); and requests entry

 of an order substantially in the form attached to this Fourth Omnibus Objection. In support of

this Fourth Omnibus Objection9 the Plan Administrator submits the Declaration of Peter Hurwitz

(the "Hurwitz Declaration"), attached hereto as Ex~~ibit B. In further support of Fourth Omnibus

 Objection, the Plan Administrator represents as follows:

                                     JURISDICTION AND VENUE

                             This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§

  1334(b) and 157 and the Amended Standing Order of Reference from the United States District

  Court for the District of Delaware dated as of February 29,2012. This is a core proceeding

  pursuant to 28 U.S.C. § 157(b) and, pursuant to Local Rule 9013-1(~,the Plan Administrator

  consents to the entry of a final order by the Court in connection with this Objection to the extent

  that it is later determined that the Court, absent consent ofthe parties, cannot enter final orders

  or judgments in connection herewith consistent with Article III ofthe United States

  Constitution. Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409. The

  statutory and legal predicates for the relief requested herein are Bankruptcy Code section

  502(b), Bankruptcy Rules 3001, 3003, and 3007, and Local Rules 1001-1(c), 3007-1, and 3007-

  2.

                                             BACKGROUND

 A.      General Back~roaud

                   2.        On September 6, 2018 (the "Petition Date"), each ofthe Debtors filed a

  voluntary petition with this Court(the "Court") under chapter 11 of the Bankruptcy Code. The


                                                      2
 DOGS NY:40268.2 64202/003
               Case 18-12012-LSS           Doc 979       Filed 05/29/20   Page 3 of 12




Liquidating Debtors are operating their businesses and managing their properties as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or

examiner has been appointed in these Cases.

                            On September 14, 2018, the Office ofthe United States Trustee

appointed the Committee pursuant to section 1102 ofthe Bankruptcy Code. On January 15,

2019, the Office of the United States Trustee filed the Amended Notzce ofAppointment of

Committee of Unsecured Creditors [Docket No. 527]. The Committee consisted ofthe

following four(4) members:(i) Bank Leumi USA;(ii) NBC Universal Media LLC;(iii) The

Walt Disney Company; and (iv) Twenty-First Century Fox, Inc.

                 4.         On October 3, 2019, the United States Bankruptcy Court for the District of

Delaware (the "Bankruptcy Court"), entered its Findings ofFact, Conclusions ofLaw, and Order

Confirming Joint Chapter 11 Plan ofLiquidation Proposed 13y DebtoNs and Official Committee

ofUnsecured Creditors (the "Confirmation Order")[Docket No. 895] confirming the Debtors'

Joint ChapteN I1 Plan ofLiquidation Proposed By Debtors and Official Committee of UnsecuNed

Creditors (the "Plan") attached as Exhibit 1 to the Confirmation Order.

                 5.         The Plan became effective on October 7, 2019 (the "Effective Date").

                 6.         Upon the Effective Date, the Plan Administrator was appointed as

administrator of the Plan.

                  7.         Pursuant to the Plan and the Confirmation Order, the Plan Administrator

 is authorized to act on behalf ofthe Liquidating Debtors, and pursuant to Article 5.5.(b)(vi) of




                                                     3
DOGS NY:40268.2 64202/003
              Case 18-12012-LSS           Doc 979       Filed 05/29/20   Page 4 of 12




the Plan, the Plan Administrator is responsible for prosecuting objections to Claims(as that

term is defined in the Plan).

B.     Gener•at Bar Date

                 8.         On November 26, 2018, the Debtors filed a motion [Docket No. 407](the

"Bar Date Motion")requesting an order(A)establishing January 25, 2019 as the deadline for (i)

filing claims against the Debtors that arose prior to the Petition Date (including section

503(b)(9) claims) and (ii) asserting administrative expense claims that arose in the period from

the Petition Date through and including December 20, 2018 and(B)establishing March 5, 2019

as the bar date for Governmental Units as that term is defined in the Bankruptcy Code. On

December 13, 2018,the Court entered an order approving the Bar Date Motion [Docket No.

458](the "Bar Date Order"). The Debtors subsequently served the bar date notice (the "Bar

Date Notice") as approved in the Bar Date Order and a proof of claim form on all creditors and

equity holders ofthe Debtors. The certificate of service for the Bar Date Notice is at Docket

No. 517.

                  9.        Pursuant to the Bar Date Order, the Debtors also caused notice of the

 General Bar Date to be published in Variety and in USA Today. Certificates of publication

 have been filed with the Court[Docket No. 506, 513].

C.      Tlie Claims Resolution Process

                  10.       In the ordinary course of business, the Debtors maintained books and

 records (the "Books and Records")that reflect, inter alia, the Debtors' liabilities and the




                                                    4
DOCS NY:40268.2 64202/003
               Case 18-12012-LSS           Doc 979       Filed 05/29/20   Page 5 of 12




amounts owed to their creditors. The Debtors have provided the Plan Administrator's

professionals with access to the Books and Records.

                  11.       The Debtors' register of claims (thy "Claims R~ gistar"), prepared by

Donlin Recano &Company,Inc., reflects that, as of the date ofthis Fourth Omnibus Objection,

three hundred and fifty-seven proofs of claim (the "Claims") have been filed in the Debtors'

chapter 11 cases. In conjunction with the Debtors and their professionals, the Plan

Administrator's professionals have been reviewing and analyzing the Claims. This process

includes identifying categories of claims that may be targeted for disallowance and

expungement, reduction and/or reclassification. To reduce the number of Claims, and to avoid

possible double recovery or otherwise improper recovery by claimants, the Plan Administrator

has already filed several omnibus objections to claims and anticipates filing several more.

                                         RELIEF REQUESTED

                  12.       By this Objection, the Plan Administrator seeks entry of an order,

pursuant to Bankruptcy Code section 502, Bankruptcy Rules 3003 and 3007, and Local Rule

3007-1,(a) disallowing and expunging the Duplicate Claims, identified in Exhibit 1 to the

Proposed Order, in full; and (b) disallowing and expunging the Insufficient Documentation

Claims, identified in Exhibit 2 to the Proposed Order, in full. This Objection is made on non-

substantive grounds under Local Rule 3007-1(d) and complies in all respects with that rule.

                  13.       Each ofthe Duplicative Claims is a claim that is duplicative of another

filed claim. Accordingly, the Plan Administrator seeks to disallow and expunge the Duplicative

 Claims.


                                                     5
DOGS NY:40268.2 64202/003
               Case 18-12012-LSS          Doc 979       Filed 05/29/20   Page 6 of 12




                  14.       Each of the Insufficient Documentation Claims is a claim that does not

include adequate information or documentation. Accordingly, the,Plan Administrator seeks to

 disallow and expunge Insufficient Documentation Claims,

                                       BASIS FOR OBJECTION

                  15.       Section 502(a) of the Bankruptcy Code provides that a "claim or interest,

 proof of which is filed under section 501 of this title, is deemed allowed, unless a party in

 interest ... objects." 11 U.S.C. § 502(a). In adjudicating claim objections, courts apply "a

 burden-shifting framework." In re DevonshiNe PGA Holdings LLC,548 B.R. 689,697(Bankr.

D. Del. 2016). The Third Circuit Court of Appeals described this framework as follows:

                 Initially, the claimant must allege facts sufficient to support the
                 claim. If the averments in his filed claim meet this standard of
                 sufficiency, it is "primafacie" valid. In other words, a claim that
                 alleges facts sufficient to support a legal liability to the claimant
                 satisfies the claimant's initial obligation to go forward. The
                 burden of going forward then shifts to the objector to produce
                 evidence sufficient to negate the primafacie validity ofthe filed
                 claim. It is often said that the objector must produce evidence
                 equal in force to the primafacie case. In practice, the objector
                 must produce evidence which, if believed, would refute at least one
                 of the allegations that is essential to the claim's legal sufficiency.
                 If the objector produces sufficient evidence to negate one or more
                 of the sworn facts in the proof of claim, the burden reverts to the
                 claimant to prove the validity of the claim by a preponderance of
                 the evidence.

In re Allegheny Intl Inc., 954 F.2d 167, 173-74(3d Cir. 1992)(citations omitted).

                  16.       Further, Section 502(b)(1) ofthe Bankruptcy Code provides that a claim

 must be disallowed if"such claim is unenforceable against the debtor and property ofthe

 debtor, under any agreement or applicable law ...." 11 U.S.C. § 502(b)(1).




                                                    6
DOCS NY:40268.2 64202/003
               Case 18-12012-LSS               Doc 979         Filed 05/29/20       Page 7 of 12




                   17.      For the reasons set forth below,there is ample evidence to rebut the

primafacie validity of each Claim.

A.      ~u~iicative Ciaia~as

                   18.      As set forth in the Hurwitz Declaration, during the Plan Administrator

and his professionals' review of the Proofs of Claim, they determined that the Duplicative

Claims identified on Exhibit 1 to the Proposed Order are identical to other Proofs of Claim filed

by the same claimant asserting a claim for the same liability in the same amount and priority or,

as a result of substantive consolidation pursuant to the Plan, such Duplicative Claims are

duplicative of claims filed against ORF.

                   19.      Accordingly, the Plan Administrator seeks the Proposed Order

disallowing and expunging each ofthe Duplicative Claims listed on Exhibit 1. Expunging the

Duplicative Claims will ensure that the claimants do not receive a double recovery on account

of their claims. The Plan Administrator notes that the claimants will not be prejudiced if the

Duplicative Claims are disallowed and expunged, because the claimants will retain their

respective surviving claims (each, a "Remainin ~Claim") also identified on Exhibit 1.2

B.       I~~safficient Doc~in;eutation Claiixis

                   20.       As set forth in the Hurwitz Declaration, the Insufficient Documentation

 Claims listed on Exhibit 2 either contain no supporting documentation or information or do not

 contain sufficient documentation to substantiate the claims asserted therein as required by

 Bankruptcy Rule 3001. The Plan Administrator and his professionals have reviewed the

2 As the claims reconciliation process is ongoing, the Plan Administrator reserves all its rights and the rights ofthe
Debtors and their estates to object to the Remaining Claims, on any grounds.


                                                           7
DOGS NY:40268.2 64202/003
              Case 18-12012-LSS            Doc 979     Filed 05/29/20    Page 8 of 12




Debtors' books and records and, after reasonable efforts, have been unable to locate any

documentation that would substantiate the Insufficient Documentation Claims, whether in full

or in part.

                 21.        Accordingly, the Insufficient Documentation Claims fail to provide

pimafacie evidence of the validity and any amount of the claim they assert, as required by

section 502 of the Bankruptcy Code and Bankruptcy Rule 30010,and the Plan Administrator

requests that the Court disallow and expunge in their entirety the Insufficient Documentation

Claims.

                             RESPONSES TO OMNIBUS OBJECTIONS

                  22.       To contest an objection, a claimant must file and serve a written response

to this Fourth Omnibus Objection(a "Response") so that it is received no later than June 12,

2020 at 4:00 p.m.(Eastern Time)(the "Response Deadline"). Every Response must be filed

with the Office of the Clerk ofthe United States Bankruptcy Court for the District of Delaware:

824 North Market Street, Wilmington, Delaware 19801, and served upon the following entities,

so that the Response is received no later than the Response Deadline, at the following addresses:

                                  Pachulski Stang Ziehl &Jones LLP
                                  919 North Market S9reet, 17th Floor
                                  P.O. Box 8705
                                  Wilmington, Delaware 19899(Courier 19801)
                                  Attn: Robert J. Feinstein, Esq.
                                         Jeffrey W. Dulberg, Esq.
                                         Colin R. Robinson, Esq.

                  23.       Every Response to this Fourth Omnibus Objection must contain, at a

 minimum, the following information:




DOCS NY:40268.2 64202/003
              Case 18-12012-LSS             Doc 979       Filed 05/29/20   Page 9 of 12




                                   a caption setting forth the name ofthe Court, the name of the
                                   Debtors, the case number, and the title of objection to which the
                                   Response is directed;

                            ii.    the name of the claimant, his/her/its Claim number, and a
                                   description ofthe basis for the amount ofthe Claim;

                            iii.   the specific factual basis and supporting legal argument upon
                                   which the party will rely in opposing this Fourth Omnibus
                                   Objection;

                            iv.    any supporting documentation, to the extent it was not included
                                   with the Proof of Claim previously filed with the clerk or claims
                                   agent, upon which the party will rely to support the basis for and
                                   amounts asserted in the Proof of Claim; and

                            v.     the name, address, telephone number, email address and fax
                                   number ofthe persons)(which may be the claimant or the
                                   claimant's legal representative) with whom counsel for the Plan
                                   Administrator should communicate with respect to the Claim or
                                   the Fourth Omnibus Objection and who possesses authority to
                                   reconcile, settle, or otherwise resolve the objection to the disputed
                                   Claim on behalf ofthe claimant.


                  24.        If a claimant fails to file and serve a timely Response by the Response

Deadline, the Plan Administrator will present to the Court an appropriate order disallowing and

expunging each of the Duplicative Claims and Insufficient Documentation Claims, as set forth

in Exhibits 1 and 2, without further notice to the claimant.

                                        REPLIES TO RESPONSES

                  25.         Consistent with Local Rule 9006-1(d), the Plan Administrator may, at his

option, file and serve a reply to a Response no later than 4:00 p.m.(Prevailing Eastern Time)

one (1) day prior to the deadline for filing the agenda for any hearing to consider the Fourth

 Omnibus Objection.




                                                      9
DOGS NY:40268.2 64202/003
              Case 18-12012-LSS            Doc 979     Filed 05/29/20     Page 10 of 12




                                SEPARATE CONTESTED MATTERS

                 26.        To the extent that a Response is filed regarding any Claim listed in this

Fourth Omnibus Objection and the Plan Administrator is unable to resolve the Response, the

objection by the Plan Administrator to each such Claim asserted herein shall constitute a

separate contested matter as contemplated by Bankruptcy Rule 9014. Any order entered by the

Court regarding an objection asserted in the Fourth Omnibus Objection shall be deemed a

separate order with respect to each Claim.

                                     RESERVATION OF RIGHTS

                  27.       The Plan Administrator hereby reserves his rights and the rights of the

Liquidating Debtors and their estates to object in the future to any of the Claims that are the

subject of this Fourth Omnibus Objection on any ground, including, but not limited to, 11

U.S.C. § 502(d), and to amend, modify, and/or supplement this Fourth Omnibus Objection,

including, without limitation, to object to amended or newly-filed claims.

                  28.       Notwithstanding anything contained in this Fourth Omnibus Objection or

the attached exhibits, nothing herein shall be construed as a waiver of any rights that the

Liquidating Debtors may have to exercise rights of setoff against the holders of such Claims.

                                        REQUEST FOR WAIVER

                  29.       Although the Plan Administrator does not believe this Objection is one

"based on substantive grounds, other than incorrect classification of a claim," Del. Bankr. L.R.

3007-1(fj(iii), and therefore does not believe that the Objection is required to "include all

 substantive objections to such claim," id., or is limited to 150 claims, Del. Bankr. L.R. 3007-


                                                     10
DOCS NY:40268.2 64202/003
              Case 18-12012-LSS           Doc 979    Filed 05/29/20     Page 11 of 12




1(~(i), this Objection requests (out of an abundance of caution) a waiver of Local Rules 3007-

1(~(iii) and (~(i) to the extent such rules might otherwise be construed to apply. Such a waiver

is authorized by Local Rule 1001-1(c), which provides that "[t]he application of these Local

Rules in any case or proceeding may be modified by the Court in the interest ofjustice," Del.

Bankr. L.R. 3007-1(~(i), and is proper in this instance given that the modifications to the claims

register requested by the Plan Administrator hereby are ministerial rather than substantive.

                                                NOTICE

                  30.       Notice ofthis Fourth Omnibus Objection shall be provided to (i) the

Office ofthe United States Trustee for the District of Delaware;(ii) each of the claimants whose

Claim is subject to this Fourth Omnibus Objection; and (iii) all entities requesting notice

pursuant to Bankruptcy Rule 2002. In light ofthe nature ofthe relief requested, the Plan

Administrator submits that no further notice is required.

                            COMPLIANCE WITH LOCAL RULE 3007-1

                  31.       The undersigned representative of Pachulski Stang Ziehl &Jones LLP

("PSZ&J")certifies that he has reviewed the requirements of Local Rule 3007-1 and that the

Fourth Omnibus Objection substantially complies with that Local Rule. To the extent that the

Fourth Omnibus Objection does not comply in all respects with the requirements of Local Rule

3007-1, PSZ&J believes such deviations are not material and respectfully requests that any such

requirement be waived.




                                                    11
DOCS NY:40268.2 64202/003
              Case 18-12012-LSS        Doc 979         Filed 05/29/20   Page 12 of 12




                                          CONCLUSION

        WHEREFORE,for the reasons set forth herein, the Plan Administrator respectfully

requests that the Court enter the Proposed Order granting the relief requested herein and granting

such other and further relief as is just and proper.

 Dated: May 29, 2020                           PACHULSKI STANG ZIEHL &JONES LLP


                                                /s/Colin R. Robinson
                                               Robert J. Feinstein(NY Bar No. 1767805)
                                               Jeffrey W. Dulberg(CA Bar No. 181200)
                                               Colin R. Robinson(DE Bar No. 5524)
                                               919 North Market Street, 17th Floor
                                               P.O. Box 8705
                                               Wilmington, DE 19899(Courier 19801)
                                               Telephone: 302-652-4100
                                               Facsimile: 302-652-4400
                                               E-mail: rfeinstein@pszjlaw.com
                                                       jdulberg@pszjlaw.com
                                                        crobinson@pszjlaw.com

                                               Counselfor the Plan AdministNator




                                                  12
DOCS NY:40268.2 64202/003
